    Case 1-12-48226-jmm              Doc 1104        Filed 05/29/14   Entered 05/29/14 15:48:26




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                             Chapter 11

Interfaith Medical Center, Inc.,                                   Case No. 12-48226 (CEC)

                          Debtor.

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                     NOTICE OF PATIENT CARE OMBUDSMAN REPORT

         PLEASE TAKE NOTICE, that Eric M. Huebscher, the patient care ombudsman (the

“Ombudsman”) appointed in the above-captioned chapter 11 case (the “Case”) filed by Interfaith

Medical Center, Inc., Debtor, will be filing his ninth written Ombudsman Report (the “Report”)

on or about June 13, 2014 in the United States Bankruptcy Court for the Eastern District of New

York.

         If you would like a copy of the Report or require additional information, please contact:

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Dated: New York, New York                            DICONZA TRAURIG KADISH LLP
       May 29, 2014

                                                     By: /s/ Jeffrey Traurig
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                                                     the Patient Care Ombudsman
